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 3   Assistant United States Attorney
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 5

 6                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
 7
     UNITED STATES OF AMERICA,              )            2:12-cr-0063-PMP-CWH
 8                                          )
              Plaintiff,                    )            MOTION UNDER LR IA 10.3
 9                                          )            FOR DEPARTMENT OF JUSTICE
              v.                            )            TRIAL ATTORNEY TO APPEAR
10                                          )            IN THIS COURT ON BEHALF OF
     ROSS HACK et al.,                      )            THE UNITED STATES
11                                          )
              Defendants.                   )
12   ______________________________________ )

13           The United States of America, by and through Daniel G. Bogden, United States Attorney,

14   and Eric Johnson, Chief, Criminal Division, Assistant United States Attorney, respectfully

15   moves for United States Department of Justice, Civil Rights Division, Trial Attorney Julia

16   Gegenheimer to be permitted to appear in this Court in the above captioned case under LR IA

17   10.3. Ms. Gegenheimer is a member in good standing of the New York State Bar, Third

18   Appellate Department. In addition, she is employed by the United States as an attorney, and in

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 1   the course and scope of her employment has occasion to appear in this Court on behalf of the

 2   United States.

 3          Dated this 17th day of April, 2014.

 4                                                        DANIEL G. BOGDEN
                                                          United States Attorney
 5
                                                          _____________________
 6                                                        ERIC JOHNSON
                                                          Chief, Criminal Division
 7                                                        Assistant United States Attorney

 8
     IT IS SO ORDERED ______________________________________________
 9                    UNITED STATES DISTRICT/MAGISTRATE JUDGE

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